                        UNITED STATES DISTRICT COURT
                                                 for
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

U.S.A. vs. Kelly Emmanuel Debnam                                       Docket No. 3:94-CR-65-3H

                         Petition for Action on Su pervised Release

        COMES NOW Thomas E. Sheppard, probation officer ofthe court, presenting a petition for
modification of the Judgment and Commitment Order of Kelly Emmanuel Debnam, who, upon an
earlier plea of guilty to Conspiracy to Possess With Intent to Distribute Cocaine Base (Crack) in
violation of 21 U.S.c. §846, was sentenced by the Honorable Malcolm J. Howard, Senior U.S.
District Judge, on May 23, 1995, to the custody of the Bureau of Prisons for a term of 120 months.
It was further ordered that upon release from imprisonment the defendant be placed on supervised
release for 60 months under the standard conditions adopted by the court and the following
additional conditions:

1.     The defendant shall participate as directed in a program approved by the probation office for
       the treatment of narcotic addiction, drug dependency, or alcohol dependency which will
       include urinalysis testing or other drug detection measures and may require residence or
       participation in a residential treatment facility.

2.     The defendant shall participate in a program of mental health treatment, as directed by the
       probation office.

3.     The defendant shall consent to a warrantless search by a United States Probation Officer or,
       at the request of the probation officer, any other law enforcement officer, of the defendant's
       person and premises, including any vehicle, to determine compliance with the conditions of
       this judgment.

4.     The defendant shall submit a written weekly report to the probation office, if not regularly
       employed, of attempts to secure gainful employment.

5.     The defendant shall pay a fine to the United States in the sum 01'$7,500.00, the tine shall not
       bear interest and shall be paid during incarceration and the remaining balance after release
       shall be paid during supervised release at the direction of the probation office not later than
       5 years after release.

       Kelly Emmanuel Debnam was released from custody on July 15,2003, at which time the
term of supervised release commenced.

RESPECTFULL Y PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS;
Between April I, 2006, and April 8. 2007, the defendant was cited on six occasions for either
Driving While License Revoked or No Operator's License, as well as other infractions involving


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expired vehicle documentation or inspections. Further, the defendant failed to appear in court to face
any of the charges. He has been verbally reprimanded on several occasions for these violations. It
now appears that a more severe sanction is in order. A 6-day jail term, consisting of one day in jail
tor each instance of illegal vehicle operation and failure to appear in court. should impress upon the
defendant that he is not to operate a motor vehicle unless he possesses a valid license and his vehicle
is properly inspected and documented, and that he should appear in court to address the charges. The
defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.

        PRAYING THAT THE COURT WILL ORDER that supervised release be modified
as follows:

I.     The defendant shall be confined in the custody ofthe Bureau ofPrisons for a period 01'6 days
       as arranged by the U.S. Probation Office, and shall abide by all rules and regulations of the
       designated facility.

        Except as herein modified, the judgment shall remain in full force and effect.


Reviewed and approved,                                  I declare under penalty of perjury that the
                                                        foregoing is true and correct.


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Robert L. Thornton
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                                                        Thomas E. Sheppard
Supervising U.S. Probation Officer                      U.S. Probation Officer
                                                        310 Dick Street
                                                        Fayetteville, NC 28301-5730
                                                        Phone: (910) 483-8613
                                                        Executed On: August 30, 2007


                                           ORDER OF COURT
                                 If,.   I!:i        ¥k-­
Considered and ordered this " () day of_--,,~'---}'-'4"-               ' 2007, and ordered filed and
           of the records in the above case.




Maleo        oward
Senior U.S. District Ju ge


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